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Pro Sc l (Rcv. 12/l6) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

m|'MLDistrict of t l Qf‘|.éa_,

.-_

CaseNo. 3 :lX'U\/;th§:j;gl_{_m;

(to be filled in by the Clerk's Ojice)

WY\ Q,L_,L\F€C.h nflde ,

Plat`ntijf(s)
(Write the filll name of each plaintlfwho is filing this complaint
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached " in the space and attach an additional
page with the full list ofnames.)

bd)m;§r _'v`¢hoip \_a&]l Cmnsl(.

. \“*_`Q_ _ given fee

Defendant(s)
(Write the full name of each defendant who is being sued. [f the
names of all the defendants cannot fit in the space abave, please
write "see attached " in the space and attach an additional page ,
with the fall list of names. ) ‘\'.

Jllry Tl'ial! (checkone) MY.€S ENO

VVVVVVVVVVVVVVV

COMPLAINT FOR A CIVIL CASE ’\.

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

mé . FQMH_FA& di
Street Address CtL{O l l )QS~&: mwi§&" W_&;_
City and County _ Q,L\_l'e f y \ l_\f¢_j , 7 , _M
State and Zip Code /-\ lilO&l_giB& 7 eni ,,,i
Telephone Number 7 l 70 \ l l-» &MGQ 7 1
E-mail Address Mmbda§©/\ em

B. The Defendant(s)

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if/mown). Attach additional pages if needed.

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Defendant No. l

  
   

 

 

Name

Job or Title (if/mown) 7`\D_Qb 4 ‘ 1 ‘ 77 7 7b

Street Address Q_H_We(' ` § ;}‘D E»C l 70 7 7
CityandCounty :_):_’O:KSCD![`|H: \)!lcgd

State and Zip Code flag .

Telephone Number QOH _ "'\ q l .. L.\ qo&

 

 
    

E-mail Address (ifknown)

 

 

De/bl`€l/_/P>Y PD%R,/> Cl'\@,l£'
DefendantN0.2 lL‘\ QO\B_ \CL(`\,[. \ Cl»
Name Meo§vl \\e,"\ft a¢;)(\;)\§

JOb OI' Titl€ (ifknown)

 

 

 

 

 

Strect Address \

City and County \

State and Zip Code \
Telephone Number n \
E-mail Address (ifknown) \

 

Defendant No. 3
Name
Job or Title (ifknown) \
Street Address t \
City and County \
State and Zip Code \
Telephone Number 7 \
E-mail Address (ifknown) \

 

 

 

 

 

Defendant No. 4
Name
Job or 'I`itle (ifknown) \
Street Address \ l 7 _r j
City and County \
State and Zip Code v \ v
Telephone Number \ v l M*A_` 44
E-mail Address (1fknown) l \

 

 

 

 

 

 

 

 

 

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited powcr). Gcncrally, only two types of cases can bc
heard in federal court1 cases involving a federal question and cases involving diversity of citizenship of thc
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity ol` citizenship case. ln a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal court jurisdiction? (check all that apply)
l:ll~`ederal question |:l Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction ls a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 

B. If the Basis for Jurisdiction ls Diversity of Citizenship

 

l. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) 77777¢ 7 77*** j 77*777 7 , is a citizen of the
State Of (name) 77*77
b. If the plaintiff is a corporation
The plaintiH`, (name) . is incorporated

under the laws of the State of (nanie)

and has its principal place of business in the State of tna)ne)

 

(If more than one plaintifis named in the complaint attach an additional page providing the
same information for each additional plaintij)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) 7777***7777 _ 7 , is a citizen of
the State of (name) 7 77777 7 7 . Or is a citizen of

(foreign nation)

 

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lll.

b. If the defendant is a corporation
The defendant, (name) WWMOWMMM under
the laws of the State of (name) § l :¢C" j : , and has its
principal place of business in the State of (name) ""1_ \Q \,:7; d O`_
Or is incorporated under the laws of (foreign nan'an) ,

 

and has its principal place of business in (name)

 

(lf more than one defendant is named in the complaint attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75, 000, not counting interest and costs of court, because (explain):

WY\OD /LYY\OU~'L} 09 QlCuJ)/\ L)J\l<"lr)e>ut')n eds
~S hoye A:AASW\ U“¢O b,a.dom. Ql€)
u.Q_,‘l:o _/w§t)~m‘.a:g" `bl/l»Ud lmc`ac§e_v

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments lnclude any basis for claiming that the wrongs alleged are continuing at the present time. lnclude
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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|l|. On March 18"‘ 2013 | was coming down the Escalator located at the Jacksonvil|e Airport and the
escalatorjo|ted. l saw ahead of me the luggage piling up at the bottom. l then had no place to move the
man in back of me jumped over me since he could anticipate what was about to happen. He avoided
hitting me while moving by me he witnessed me that | had already fallen as the luggage was being
removed. The baggage employee tried to help me but the escalator was pulling my Hair piece and it
pulled it out with some of my natural hair as well pulling my dress and jacket. Another employee came
from the other side as he seen what was happening and ran over to shut the emergency button off and
asked was | okay and gave me a chair to sit because l had become dizzy and almost passed out he then
called the ambulance and l was then taken to the Baptiste Medical Center where | was administered
care for my injuries sustained.

lV.

| would like to be compensated for medical bills that has and still will accrue and for all out of pocket
cost due to the fall. As well as for the pain and suffering that has caused Anxiety depression clue to
Surgeries l have had has made my live and way of living and traveling very difficult and has made me
disabled to where | cant work.

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Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support alier a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule l l.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Oi`fice may result
in the dismissal of my case.

Date of signing: - ` ,\

Signawe<>f}"aimir z:/l:)éns@anj

PrintedName of Plaintiff W@§~ _ _

For Attorneys

Date of signing:

 

Signature of Attorney

Printed Name of Attomey

 

Bar Number

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E~mail Address

 

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